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                                                             REDACTED PUBLIC VERSION

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 23rd day of October, 2012, a true and

accurate copy of Plaintiffs’ Response in Opposition to KBR’s Motion for Summary Judgment,

the Declaration of Sanjay Prasad Raut, the Declaration of Duane Banks, the Declaration of

Michael Henson, the Statement of Material Facts, and the exhibits thereto, were filed under seal

with the Court via the Court’s sealed Electronic Filing System:



                                                    /s/ Agnieszka M. Fryszman
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